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                           AFFIDAVIT OF ROBERT ERDELY

  1    I have 25 total years of experience in law enforcement. For overl 8 years I
       specialized in computer crime, and 'for 12 years, and at the present time, I
       provided instruction to law enforcement officers on the skills necessary to
       conduct online investigations and computer forensic examinations, including
       investigations involving peer-to-peer file sharing networks. Attached to this
       affidavit as Exhibit 1 is a true and accurate copy of my CV.

  2.   I am currently a Detective with the Computer Crime Unit of the lndiana County
       Pennsylvania's Detective Bureau. I was previously employed as the supervisor
       for the Pennsylvania State Police Computer Crime Unit until I retired in 2012.
       Both Computer Crime Units are responsible for investigations of crimes which
       occur on the lnternet including the distribution of child exploitation material
       through peerto-peer networks.

  3.   With one other individual, I created the ICAC law enforcement system that law
       enforcement organizations use to identify potential possessors and distributors of
       child pornography over the BitTorrent peer-to-peer (P2P) sharing network. I am
       thus intimately familiar with the creation of this system, the use of the system,
       and the technical specifications and capabilities of the system. I conduct
       trainings for law enforcement officers on how to utilize the ICAC law enforcement
       system. The investigation in this case involved the BitTonent P2P sharing
       network.

  4.   ln laypersons' terms, the ICAC law enforcement system identifies potential
       sharers of child pornography in essentially the same way that any other individual
       P2P user seeking to share child pornography identifies a potential source of that
       child pornography.

  5.   PzP networks first gained notoriety in the music file sharing context with
       programs such as Napster and Limewire. The main difference between other
       P2P networks and BitTorrent is that BitTorrent does not provide a search engine
       to locate files being shared on the BitTorrent network.

  6.   lnstead, to receive or distribute child pornography over the BitTorrent P2P
       network, a defendant must first obtain a "torrent file" from an outside website or
       some other source of that data. A torrent file does not contain the actual file itself
       (in this case, the actual child pornography image). lt only contains information
       about the file(s), such as the name, size, folder structure, and cryptographic

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       "hash value" (Sha-l) for the data of the file(s) being shared. The torrent file also
       contains information about where the user can learn how to obtain the file itself.

  7.   Hash values are an alpha/numerical identifier for a given file, and certain hash
       values can identify a given file as child pornography. The Secure Hash Algorithm
       (SHA-I) was developed by the National lnstitute of standards and Technology
       (NIST), along with the National Security Agency (NSA). The BitTorrent file
       sharing network uses this hashing algorithm to identify the files being shared on
       this network. The odds of the Sha-1 hashing failing (i.e. - two different files
       producing the same Sha-1 hash) is 2160, or 1 in
       1,461,501,637,330,900,000,000,000,000,000,000,000,000,000,000,000.

  8.   These BitTorrent indices are essentially matchmakers. More specifically, they
       are computers or servers that identify and match people using BitTorrent with
       other people using BitTorrent who are looking for or are actively sharing the
       same file(s) described by the .torrent file. Those matches are called "download
       candidates." BitTorrent indices typically match multiple download candidates
       with each other. The BitTorrent program can then connect to 1 or many
       download candidates and request to download the pieces of the files needed.
       That process is often referred to as "swarming." Both the sharing computer and
       the downloading computer must have the same torrent file (identified through a
       unique identifier called an "infohash"). Without having the same .torrent file,
       downloading a file or files is impossible. This is easily confirmed by anyone by
       reading the well documented BitTorrent protocol.

  9.   After the defendant loads a .torrent file into his/her BitTorrent application, the
       BitTorrent program will initiate contact with BitTorrent index to locate download
       candidates. A defendant, through his computer and BitTorrent program, provides
       the BitTorrent index with certain information, including the defendant computer's
       lP address and the unique identifier of the .torrent, which contains the
       instructions on how to download the file(s) that the defendant is seeking to
       download and/or share. The infohash is based on the Sha-l algorithm and
       therefore is a very reliable way to uniquely identify every collection of file(s) being
       shared on the BitTorrent file sharing network.

  10.A BitTorrent index does not initiate contact with a defendant or "request"
     information from a defendant's computer. To the contrary, a defendant, through
     his computer, voluntarily contacts the BitTorrent index and voluntarily provides
     the BitTorrent index with the defendant's lP address and the infohash of the data
     that the defendant is seeking to download or share. ln fact, a defendant shares
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        that information with the BitTorrent index for the very purpose of the BitTorrent
        index, in turn, sharing that information with other potentially unknown peers who
        possess, or are seeking the same file.

  '1   l.There are a few very minor differences between the ICAC law enforcement
        system's use of the BitTorrent P2P system and a "peer's" use of the P2P system.
        With respect to the first difference, as previously stated, ordinary
        defendants/BitTorrent users must obtain a .torrent file before they can seek a
        given file from another peer through a BitTorrent network. The ICAC law
        enforcement system, however, maintains those .torrent files and hash values, so
        the ICAC investigators does not have to search outside websites for that
        information.

  12.   The second minor difference relates to the actual P2P download. Law
        enforcement uses software to engage in a single-source download from a solitary
        download candidate. This is an example of Law Enforcement being more
        restrictive than the original design of BitTorrent which seeks to download from
        many sharing computers to speed up the download times. This software was not
        built on any existing software but instead was created for Law Enforcement
        through a partnership with a University in lvlassach usetts.

  13.The third difference is that the law enforcement software does not share any of
     the content downloaded during an investigation.

  14.|f the source code or certain other details about the ICAC system became public,
     child pornography distributors could find a way to avoid detection from the ICAC
     system and could render that tool of law enforcement ineffective. Additionally,
     the .torrent's and the hash values of the files being investigated could hinder
     future investigations once this identifier to the illegal files became public. The
     infohash becoming public would also allow others to quickly find and download
     these child pornography files.

  15. I have reviewed the defense expert's declaration where she details how she did
        not perform any forensic examination but instead relied on the Governments
        forensic analysis. ln paragraph 12 of the defense expert's declaration she states
        "The report is silent with regard to locating the uTorrent software version 2.2.1"
        After a review of this case, the defense expert is mistaken in that there was
        evidence recovered indicating the uTorrent had been installed on a computer
        seized (reference page 30 of the original forensic report). She later states
        "Further, the majority of the suspect child pornography was located within system
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        locations on the hard drive, compressed backup files, external devices, and
        possibly encrypted containers, so it is unknown if any of those locations would
        have been publicly available." lt is important to note the following regarding most
        BitTorrent programs, and all of these facts are true regarding ulorrent:

               By default there is no "default download" folder, a user would have to
               configure this "default download" folder. Even if a "default download"
               directory was specified, when a torrent file is loaded into uTorrent, a user
               could save the content to another location, even external hard drives,
               encrypted drives or network attached storage devices. Each and every
               location where a user downloads file(s) therefore becomes "publicly
               shared" whether or not that folder is the users "default download" folder.

           .   Even though files were found on the external hard drive, even if this was
               not the default location where they were shared from, any user can move
               files from location to location. Through my hundreds of investigations, I
               have learned that it is common for users downloading child pornography
               to copy and / or move files from location to location, often deleting the file
               from the original location.

  16.   BitTonent pedorms the sharing of files by downloading "pieces". These pieces
        downloaded are not typically the whole file but instead a piece of one file or
        several files. The torrent files are the instructions to download, which includes
        the sha-1 hash values of each piece. This is used to verify that the piece
        downloaded from a sharing computer had properly downloaded. The
        downloaded piece has the sha-1 hash value calculated and then compared to the
        value located in the torrent file. lf the values match, the BitTorrent program
        knows the download of that piece was successful. This process is used by all
        BitTorrent programs and this is why it would be absolutely impossible to
        randomly download files from a suspect's computer which are from "unshared
        folders". Without a torrent file (the instructions), two BitTorrent programs would
        not be able to share any files. Any expert knowledgeable of the BitTorrent
        protocol would come to the same conclusion.

  17.The software used to conduct investigations was validated by an independent
     company which employs computer programmers. This independent validation
     was performed at the FBI's direction. The company was given the program to
     run and test as well as the source code for review. The following are points of
     the validation as it relates to the law enforcement bittorrent software which
     conducts the investigation:
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        .   Source code review
        .   That the software contacts and downloads from the internet protocol (lP)
            address and port specified
        o   That the software properly conducts what is referred to a "single source
            download" or in other words, the software will only ever download from the
            one lP address specified.
        .   That the software is incapable of sharing the downloaded content out to
            other bittorrent users.
        .   That the software accurately places the downloaded content into the
            evidence folder created for each and every investigation.

  18. The conclusion of   the independent validation was that it passed all
     operational/validation tests. The program was found to contain a minor bug
     involving long file paths which was immediately fixed. This minor bug was simply
     that if a file path became too long, the program would stop performing
     investigations (i.e. the program would shut down if it encountered a file path
     which was longer than what Windows allows). This is not at issue since it was
     fixed.

  19. ln summary,  the ICAC law enforcement system never obtains any unshared
     information from any computer running a BitTorrent program. lf the Law
     Enforcement tool had the ability to download files other than ones being shared
     to the BitTorrent network, the independent validation would have revealed it.
     Additionally, the BitTorrent protocol describes the manner in which this sharing
     occurs; making the downloading of other material not related to the .torrent file
     directions an impossibility.

  20. lvloreover, the ICAC law enforcement system "searches" for download
      candidates in same way that any public user of the P2P file sharing system
     "searches" for download candidates. These indexes searched are not the
     sharing computer, but instead the indexes are the publicly available ones.

  21. The ICAC law enforcement system only "searches" for information that a user
      has already made public by the very use of the uTorrent program. ln fact, not
     only has a defendant's BitTorrent program already provided that information, but
     the information was provided for the express purpose of sharing that information
     with other unknown BitTorrent users.

  22. BitTorrent by default shares downloaded data back to other BitTorrent users from
     whatever location the data was saved to, which would include an external hard
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      drive. The data will continue to be shared as long as the BitTorrent program is
      running, the computer is connected to the internet, and the .torrent and data
      remain in the location where they had been downloaded to and the BitTorrent
      user had not taken an affirmative step to stop sharing that particular .torrent.

I declare under penalty of perjury under the laws of the United States that the foregoing
is true and correct to the best of my knowledge and belief.




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Detective Robert W Erdely
